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Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                              §
 In re:
                                                              §   Chapter 11
 HIGHLAND CAPITAL MANAGEMENT, L.P., 1                         §
                                                              §   Case No. 19-34054-sgj11
                                                              §
                                  Reorganized Debtor.
                                                              §
                                                              §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                              §
                                                              §   Adversary Proceeding No.
                                    Plaintiff,
                                                              §
                                                              §
 vs.                                                              Case No. 21-03004-sgj
                                                              §
                                                              §
 HIGHLAND CAPITAL MANAGEMENT
                                                              §
 FUND ADVISORS, L.P.,
                                                              §
                                                              §
                                    Defendants.
                                                              §
                                                              §


1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.



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                      STIPULATION REGARDING BRIEFING SCHEDULE FOR
                            HCMFA’S SECOND MOTION TO AMEND

           This stipulation (the “Stipulation”) is made and entered into by and between Highland

Capital Management L.P. (“Highland” or the “Reorganized Debtor”) and Highland Capital

Management Fund Advisors, L.P. (“HCMFA,” and together with Highland, the “Parties”), by and

through their respective undersigned counsel, in connection with the above-captioned adversary

proceeding (the “Adversary Proceeding”).

                                                   RECITALS

           WHEREAS, on October 16, 2019 (the “Petition Date”), Highland filed a voluntary petition

for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the

Bankruptcy Court for the District of Delaware, Case No. 19-12239 (CSS) (the “Delaware Court”);

           WHEREAS, on December 4, 2019, the Delaware Court entered an order transferring venue

of Highland’s Bankruptcy Case to this Court [Bankr. Docket No. 186]; 2

           WHEREAS, on February 22, 2021, the Bankruptcy Court entered the Order (i) Confirming

the Fifth Amended Plan of Reorganization (as Modified) and (ii) Granting Related Relief [Bankr.

Docket No. 1943] (the “Confirmation Order”) which confirmed the Fifth Amended Plan of

Reorganization of Highland Capital Management, L.P., as Modified [Bankr. Docket No. 1808]

(the “Plan”);

           WHEREAS, the Plan went Effective (as defined in the Plan) on August 11, 2021, and

Highland is the Reorganized Debtor (as defined in the Plan) since the Effective Date. See Notice

of Occurrence of Effective Date of Confirmed Fifth Amended Plan of Reorganization of Highland

Capital Management, L.P. [Bankr. Docket No. 2700];



2
    Refers to the docket number maintained in the Bankruptcy Case.



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           WHEREAS, on September 7, 2021, the Court entered its Order Approving Stipulation

Governing Discovery and Other Pre-Trial Issues [See Docket No. 68] 3 (the “Scheduling Order”),

pursuant to which discovery and pretrial matters in the Adversary Proceeding are consolidated;

           WHEREAS, on November 30, 2021, HCMFA filed Defendant's Second Motion for Leave

to Amend Answer and Brief in Support Thereof [Docket No. 82] (“HCMFA’s Second Motion to

Amend”);

           WHEREAS, a hearing on HCMFA’s Second Motion to Amend is scheduled for January

10, 2022 at 9:30 a.m. CT [Docket No. 89]; and

           WHEREAS, the Parties have conferred and desire to enter into a mutually agreeable

proposed scheduling order regarding HCMFA’s Second Motion to Amend, as specifically set forth

below.

           NOW, THEREFORE, it is hereby stipulated and agreed, and upon approval of this

Stipulation by the Court, it shall be SO ORDERED:

           1.       A response to the Second Motion to Amend (the “Response”) shall be filed on or

before December 30, 2021, unless otherwise agreed in writing by the Parties.

           2.       A reply to the Response shall be filed on or before January 7, 2022, unless

otherwise agreed in writing by the Parties.

           3.       All deadlines set forth above are effective as of 5:00 p.m. (Central Time) on each

applicable date.

           4.       If approved by the Court, this Stipulation shall only be modified in a writing signed

by the Parties or upon the entry of an order of the Court entered upon notice to the Parties.




3
    Refers to the docket maintained in the Adversary Proceeding.



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        5.       The Court shall retain jurisdiction over all disputes arising out of or otherwise

concerning the interpretation and enforcement of this Stipulation.



Dated: December 21, 2021.
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                                              - and -


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                                              - and –




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